     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 1 of 9 Page ID #:1




1
     Scott Alan Burroughs (SBN 235718)
     scott@donigerlawfirm.com
2    Frank R. Trechsel (SBN 312199)
3
     ftrechsel@donigerlawfirm.com
     DONIGER / BURROUGHS
4    603 Rose Avenue
5
     Venice, California 90291
     Telephone: (310) 590-1820
6

7
     Attorneys for Plaintiff

8
                          UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11   BERNHARD KÜHMSTEDT, an                       Case No.:
     individual,
12                                                    Plaintiff’s Complaint for:
     Plaintiff,
13                                                 1. Copyright Infringement
14   v.
                                                   2. Vicarious and/or Contributory
15                                                    Copyright Infringement
     SPOTIFY USA, INC., a Delaware
16   corporation; UNIVERSAL MUSIC
                                                   3. Violation of DMCA 17 U.S.C. §
     GROUP, INC., a California corporation,
17                                                    1202
     d/b/a “MERCURY RECORDS, LTD.”;
18   APPLE, INC., a California corporation,             Jury Trial Demanded
19   d/b/a “SHAZAM”; BLACKGROUND
     RECORDS, LLC, a Delaware limited
20   liability company; and DOES 1-10,
21   inclusive,
22

23
     Defendants.

24

25

26

27

28

                                              1
                                       COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 2 of 9 Page ID #:2




1          Plaintiff, Bernhard Kühmstedt (“Kühmstedt”), by and through his
2    undersigned attorneys, hereby prays to this honorable Court for relief based on the
3    following:
4                              JURISDICTION AND VENUE
5          1.      This action arises under the Copyright Act of 1976, Title 17 U.S.C., §
6    101 et seq.
7          2.      This Court has federal question jurisdiction under 28 U.S.C. § 1331 and
8    1338 (a) and (b).
9          3.      Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
10   1400(a) in that this is the judicial district in which a substantial part of the acts and
11   omissions giving rise to the claims occurred.
12                                         PARTIES
13         4.      Kühmstedt is an individual residing in the Munich, Germany.
14         5.      Kühmstedt is informed and believes and thereon alleges that
15   Defendant Spotify USA, Inc. (“Spotify”), is a Delaware corporation that does
16   business in and with California and this District, including without limitation from
17   offices at 425 California St., San Francisco, California 94104.
18         6.      Kühmstedt is informed and believes and thereon alleges that
19   Defendant Universal Music Group, Inc., individually and doing business as
20   “Mercury Records Ltd.” (collectively “Mercury Records”), is a California
21   corporation that does business in and with California and this District, including
22   without limitation from offices at 2100 Colorado Avenue, Santa Monica,
23   California, 90404.
24         7.      Kühmstedt is informed and believes and thereon alleges that
25   Defendant Apple, Inc., individually and doing business as “Shazam” (collectively
26   “Shazam”), is a California corporation that does business in and with California
27   and this District, including without limitation from offices at 1 Apple Park Way,
28   Cupertino, California, 95014.
                                                2
                                            COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 3 of 9 Page ID #:3




1          8.    Kühmstedt is informed and believes and thereon alleges that
2    Defendant Blackground Records, Inc. (“Blackground Records”), is a Delaware
3    corporation that does business in and with California and this District, and has its
4    primary place of business at 874 Walker Road Suite C, Dover, Delaware, 19904.
5          9.    Kühmstedt is informed and believes and thereon alleges that
6    Defendants DOES 1 through 10, inclusive (collectively with Spotify, Mercury
7    Records, Shazam, and Blackground Records, “Defendants”), are other parties not
8    yet identified who have infringed Plaintiff’s copyrights, have contributed to the
9    infringement of Plaintiff’s copyrights, or have engaged in one or more of the
10   wrongful practices alleged herein. The true names, whether corporate, individual
11   or otherwise, of Defendants 1 through 10, inclusive, are presently unknown to
12   Kühmstedt, which therefore sues said Defendants by such fictitious names, and
13   will seek leave to amend this Complaint to show their true names and capacities
14   when same have been ascertained.
15         10.   Kühmstedt is informed and believes and thereon alleges that at all
16   times relevant hereto each of the Defendants was the agent, affiliate, officer,
17   director, manager, principal, alter-ego, and/or employee of the remaining
18   Defendants and was at all times acting within the scope of such agency, affiliation,
19   alter-ego relationship and/or employment; and actively participated in or
20   subsequently ratified and/or adopted each of the acts or conduct alleged, with full
21   knowledge of all the facts and circumstances, including, but not limited to, full
22   knowledge of each violation of Plaintiff’s rights and the damages to Kühmstedt
23   proximately caused thereby.
24       CLAIMS RELATED TO PLAINTIFF’S SUBJECT PHOTOGRAPH
25         11.   Kühmstedt is a renowned professional photographer specializing in
26   celebrity and portrait photography. Kühmstedt’s work has been widely published
27   and displayed internationally and has featured such world-famous celebrities as
28   Christina Aguilera, Justin Timberlake, and the Red Hot Chili Peppers.
                                               3
                                          COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 4 of 9 Page ID #:4




1          12.   Kühmstedt created and owns the original photographs of female
2    singer Joanna Noëlle Levesque, famously known as JoJo (“JoJo”) depicted in
3    Exhibit A attached hereto (the “Subject Photographs”).
4          13.   Kühmstedt is the sole owner of the exclusive rights, title, interests,
5    and privileges in and to the Subject Photographs.
6          14.   The Subject Photographs are registered with the U.S. Copyright
7    Office and/or was first published abroad, exempting Kühmstedt from the
8    registration requirements set out in 17 U.S.C. § 411(a) for said photographs.
9          15.   Prior to the acts complained of herein, the Subject Photographs was
10   published to the public and otherwise made widely available to viewers.
11         16.   Upon information and belief, Kühmstedt alleges that Defendants, and
12   each of them, have willfully copied, reproduced, and distributed the Subject
13   Photographs for commercial benefit by, without limitation, reproducing the
14   Subject Photographs online, which resulted in the display and reproduction of the
15   Subject Photographs by other companies. True and correct copies and screen
16   captures of Defendants’ unauthorized uses are depicted in Exhibit B attached
17   hereto (“Infringing Content”). These copies and screen captures represent non-
18   inclusive exemplars of the Infringing Content.
19         17.   Upon information and belief, Kühmstedt alleges that Defendants, and
20   each of them, had access to the Subject Photographs, including through magazines,
21   publications, and Kühmstedt’s numerous online profiles and features, online
22   publications and press featuring Kühmstedt’s work, Kühmstedt’s social media
23   accounts, and/or through viewing the Subject Photographs on third-party websites
24   and search engines.
25         18.   Kühmstedt has not in any way authorized Defendants, or any of them,
26   to copy, reproduce, duplicate, disseminate, distribute, create derivative works of,
27   or otherwise exploit the Subject Photographs. The Defendants did not contact
28

                                              4
                                          COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 5 of 9 Page ID #:5




1    Kühmstedt and obtain a license to use the Subject Photographs before the
2    exploitation at issue.
3          19.    Kühmstedt did not know or have reason to know of Defendants’
4    infringing conduct prior to three years before the filing of this complaint.
5          20.    On May 9, 2022, Kühmstedt, through his attorneys, sent a letter to
6    both Defendants notifying them of their infringing activity and demanding that
7    they both cease and desist all infringing uses of Kühmstedt’s copyrighted work.
8    All Defendants failed to respond meaningfully, necessitating this action.
9                              FIRST CLAIM FOR RELIEF
10           (For Copyright Infringement - Against All Defendants, and Each)
11         21.    Kühmstedt repeats, re-alleges, and incorporates herein by reference as
12   though fully set forth, the allegations contained in the preceding paragraphs.
13         22.    Kühmstedt alleges on information and belief that Defendants, and
14   each of them, accessed the Subject Photographs by, without limitation, viewing
15   the Subject Photograph in magazines or other publications, or on Kühmstedt’s
16   website or social media profiles, on other sites online, in physical publications, or
17   in Kühmstedt’s numerous online profiles. Access is further evidenced by the
18   Subject Photograph’s exact reproduction in the Infringing Content.
19         23.    Kühmstedt alleges on information and belief that Defendants, and
20   each of them, copied, reproduced, displayed, and distributed the Subject
21   Photographs which resulted in displays of the Subject Photographs by other music
22   streaming services and companies, as depicted in Exhibit B hereto.
23         24.    Kühmstedt alleges on information and belief that Defendants, and
24   each of them, infringed Plaintiff’s copyrights by creating infringing derivative
25   works from the Subject Photographs and publishing same to the public for
26   commercial benefit.
27         25.    Due to Defendants’, and each of their, acts of infringement, Kühmstedt
28   has suffered general and special damages in an amount to be established at trial.
                                               5
                                          COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 6 of 9 Page ID #:6




1          26.    Due to Defendants’ acts of copyright infringement as alleged herein,
2    Defendants, and each of them, have obtained direct and indirect profits they would
3    not otherwise have realized but for their infringement of Kühmstedt’s rights in the
4    Subject Photographs. As such, Kühmstedt is entitled to disgorgement of
5    Defendants’ profits directly and indirectly attributable to Defendants’
6    infringement of Kühmstedt’s rights in the Subject Photographs in an amount to be
7    established at trial.
8          27.    Kühmstedt alleges on information and belief that Defendants, and
9    each of them, have committed acts of copyright infringement, as alleged above,
10   which were willful, intentional and malicious, which further subjects Defendants,
11   and each of them, to liability for statutory damages under Section 504(c)(2) of the
12   Copyright Act in the sum of up one hundred fifty thousand dollars ($150,000.00)
13   per infringement and/or a preclusion from asserting certain equitable and other
14   defenses.
15                           SECOND CLAIM FOR RELIEF
16        (For Vicarious and/or Contributory Copyright Infringement – Against all
17                                  Defendants, and Each)
18         28.    Kühmstedt repeats, re-alleges, and incorporates herein by reference as
19   though fully set forth, the allegations contained in the preceding paragraphs of this
20   Complaint.
21         29.    Kühmstedt alleges on information and belief that Defendants
22   knowingly induced, participated in, aided and abetted in and profited from the
23   illegal reproduction and distribution of the Subject Photographs as alleged
24   hereinabove. Such conduct included, without limitation, publishing photographs
25   obtained from third parties that Defendant(s) knew, or should have known, were not
26   authorized to be published by Defendant(s); publishing the Infringing Content on
27   affiliate, third-party, and social media sites; and distributing the Infringing Content
28   to third-parties for further publication and display, as depicted in Exhibit B.
                                               6
                                           COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 7 of 9 Page ID #:7




1          30.    Kühmstedt alleges on information and belief that Defendants, and
2    each of them, are vicariously liable for the infringement alleged herein because
3    they had the right and ability to supervise the infringing conduct and because they
4    had a direct financial interest in the infringing conduct. Specifically, Defendants,
5    and each of them, received revenue in connection with the Infringing Content, and
6    were able to supervise the distribution, broadcast, and publication of said content.
7          31.    Due to Defendants’, and each of their, acts of contributory and
8    vicarious infringement as alleged above, Kühmstedt has suffered general and
9    special damages in an amount to be established at trial.
10         32.    Due to Defendants’ acts of copyright infringement as alleged herein,
11   Defendants, and each of them, have obtained direct and indirect profits they would
12   not otherwise have realized but for their infringement of Kühmstedt’s rights in the
13   Subject Photographs. As such, Kühmstedt is entitled to disgorgement of
14   Defendants’ profits directly and indirectly attributable to Defendants’
15   infringement of his rights in the Subject Photographs, in an amount to be
16   established at trial.
17         33.    Kühmstedt alleges on information and belief that Defendants, and
18   each of them, have committed acts of copyright infringement, as alleged above,
19   which were willful, intentional and malicious, which further subjects Defendants,
20   and each of them, to liability for statutory damages under Section 504(c)(2) of the
21   Copyright Act in the sum of up to $150,000.00 per infringement and/or a
22   preclusion from asserting certain equitable and other defenses.
23                            THIRD CLAIM FOR RELIEF
24      (For Violations of the 17 U.S.C. §1202 – Against all Defendants, and Each)
25         34.    Kühmstedt repeats, re-alleges, and incorporates herein by reference as
26   though fully set forth, the allegations contained in the preceding paragraphs.
27         35.    The Subject Photographs were routinely published with attribution, credit,
28   and other copyright management information identifying Kühmstedt as the author.
                                               7
                                          COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 8 of 9 Page ID #:8




1          36.     Kühmstedt alleges on information and belief that Defendants, and
2    each of them, removed Kühmstedt’s copyright management information, as
3    described above, from the Subject Photographs, and/or added false copyright
4    management information to the Subject Photographs, before distributing and
5    publishing same to the public.
6          37.     Kühmstedt alleges on information and belief that Defendants, and
7    each of them, distributed and published the Subject Photographs via music
8    streaming services depicted in Exhibit B hereto, under its own name, and
9    removing Kühmstedt’s attribution information, including without limitation his
10   name and/or metadata.
11         38.     The aforementioned facts constitute “copyright management
12   information” as that phrase is defined in 17 U.S.C. §1202(c) and is false.
13         39.     When Defendants distributed and published the Subject Photographs,
14   they knowingly provided and/or distributed false copyright management
15   information in violation of 17 U.S.C. §1202(a). As a result of the foregoing,
16   Kühmstedt has been damaged and may recover those damages as well as
17   Defendants’ profits, and/or statutory damages, and attorneys’ fees under 17 U.S.C.
18   §1203.
19                                PRAYER FOR RELIEF
20         Wherefore, Kühmstedt prays for judgment as follows:
21         Against all Defendants, and Each, with Respect to Each Claim for
22   Relief:
23               a. That Defendants—each of them—and their respective agents and
24                 servants be enjoined from reproducing, displaying, distributing,
25                 disseminating, or otherwise exploiting the Subject Photographs or
26                 otherwise violating Kühmstedt’s exclusive rights in the Subject
27                 Photographs;
28

                                               8
                                           COMPLAINT
     Case 2:23-cv-02292-MEMF-SK Document 1 Filed 03/28/23 Page 9 of 9 Page ID #:9




1             b. That Kühmstedt be awarded all profits of Defendants, and each of
2                them, plus all losses of Plaintiff, the exact sum to be proven at the
3                time of trial, or, if elected before final judgment, statutory damages as
4                available under the Copyright Act, 17 U.S.C. § 101, 504, et seq.;
5             c. That Kühmstedt be awarded its attorneys’ fees as available under the
6                Copyright Act U.S.C. § 101, 505, et seq.;
7             d. That Kühmstedt be awarded pre-judgment interest as allowed by law;
8             e. That Kühmstedt be awarded the costs of this action; and
9             f. That Kühmstedt be awarded such further legal and equitable relief as
10               the Court deems proper.
11

12      Kühmstedt demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
13   P. 38 and the 7th Amendment to the United States Constitution.
14
                                                   Respectfully submitted,
15

16   Dated: March 28, 2023                  By:    /s/ Scott Alan Burroughs
17
                                                   Scott Alan Burroughs, Esq.
                                                   Frank R. Trechsel Esq.
18                                                 DONIGER/BURROUGHS
19
                                                   Attorneys for Plaintiff

20

21

22

23

24

25

26

27

28

                                               9
                                           COMPLAINT
